                                                                                 ORDER:
                                                                                 Motion granted.

                        UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION                                  U.S. Magistrate Judge

UNITED STATES OF AMERICA                        )
                                                )
vs.                                             )          No. 3:13-00097
                                                )          Judge Kevin Sharp
KAYCEE ANNE BREEDEN                             )

                  MOTION TO CONTINUE DETENTION HEARING

       The Defendant, Kaycee Anne Breeden, by and through counsel, hereby moves to

continue the detention hearing currently set for the afternoon of October 30th, 2013. As

grounds for this request counsel for Ms. Breeden asserts that he needs additional time to

arrange a viable alternative to Ms. Breeden’s pre-trial detention. After consultation with the

Court, opposing counsel and the USPO, it is counsel’s request that the hearing be

continued until 1:30 PM on the afternoon of November 12, 2013.

                                     Respectfully submitted,

                                     /s/ John P. Cauley
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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 29, 2013 a copy of the foregoing was electronically
filed. Notice of this filing will be sent by operation of the Court’s electronic filing system to
all parties indicated on the electronic filing receipt, namely Assistant U.S. Attorney Brent A.
Hannafan, 110 9th Avenue South, Suite A-961, Nashville, TN 37203, along with all other
defendants in this case. All other parties will be served by regular U.S. Mail. Parties may
access this filing through the Court’s electronic filing system.

                                            /s/ John P. Cauley



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